                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,                                 Case No. 05-cr-146-pp

v.

ORLANDES NICKSION,

                  Defendant.
______________________________________________________________________________

ORDER DIRECTING CLERK OF COURT TO FILE PLEADING AS A PETITION
                       PURSUANT TO 28 U.S.C. §2255
______________________________________________________________________________

      At 10:55 a.m. on September 22, 2015, the clerk’s office received a

pleading from defendant Orlandes Nicksion entitled “Petition for Writ of Audita

Querela.” The defendant indicates in the pleading that he does not have

counsel representing him. The pleading alleges that the defendant recently has

discovered evidence “of government misconduct suggesting that Defendants

were arrested on the basis of illegal wiretaps and are furthermore actually

innocent of the charges underlying their convictions.” (The court notes that the

June 7, 2005 criminal indictment charged the defendant and six other

individuals with controlled substance and firearms offense; presumably this is

why he refers to “defendants,” plural, despite the fact that he lists only himself

as the moving party.)

      The defendant includes in the pleading an explanation of why he is

requesting a “writ of audita querela”:




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      The writ of audita querela is an old common law
      procedure defined as a “writ constituting the initial
      process in an action brought by a judgment defendant
      to obtain relief against the consequences of the
      judgment, on account of some matter of defense or
      discharge, arising since its rendition and which could
      not be taken advantage of otherwise.” 12 Moore’s
      Federal Practice §60, App. 105 (Matthew Bender 3d ed.
      1997) (quoting Black’s Law Dictionary 167 (rev. 4th ed.
      1968)). The writ has been abolished by rule in civil
      cases. Fed. R. Civ. P. 60(b). The Supreme Court has
      held that Rule 60’s abolition of the writ of audita
      querela is limited to civil cases. Morgan v. United
      States, 346 U.S. 502, 74 S. Ct. 247, 98 L.Ed.2d 248
      (1954). Thus, federal courts have the authority to
      grant a writ of audita querela in a criminal case.

      Audita querela serves to plug the gap in the system of
      federal post-conviction remedies as it relates to the
      Government’s demonstrated misconduct which led to
      the conviction of the Defendants, all of whom are
      actually innocent, and who were convicted on the
      basis of invalid and incredible wiretap submissions
      obtained in violation of federal law. See United States
      v. Valdez-Pacheco, 237 F.3d 1077, 1079 (9th Cir.
      2001); United States v. Ayala, 894 F.2d 425 (D.C. Cir.
      1990); United States v. Johnson, 962 F.2d 579, 582-
      83 (7th Cir. 1992).

The defendant also makes the following statement in a footnote:

      Defendant intelligently, knowingly and voluntarily
      brings this pleading under Title 28, United States
      Code, Section 1651 (the All Writs Act) and adamantly
      opposes any construction and/or attempt to construe
      this pleading as one brought under any other vehicle,
      including, but not limited to a Motion to Vacate, Set
      Aside or Correct Sentence under Title 28, United
      States Code, Section 2255. See Morgan v. United
      States, 346 U.S. 502, 74 S. Ct. 247, 98 L. Ed. 2d 248
      (1954).




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      Despite the defendant’s adamant opposition, the court will direct the

clerk of court to docket this pleading as a federal habeas corpus petition under

28 U.S.C. §2255.

      Section 1651 of Title 28 states, “The Supreme Court and all courts

established by Act of Congress may issue all writs necessary or appropriate in

aid of their respective jurisdictions and agreeable to the usages and principles

of law.” Of course, a federal writ of habeas corpus under §2255 is one of the

writs the “All Writs Act” authorizes federal courts to issue. Section 2255 allows

            [a] prisoner in custody under a sentence of a court
            established by Act of Congress claiming the right to be
            released upon the ground that the sentence was
            imposed in violation of the Constitution or laws of the
            United States, or that the court was without
            jurisdiction to impose such sentence, or that the
            sentence was in excess of the maximum authorized by
            law, or is otherwise subject to collateral attack, may
            move the court which imposed the sentence to vacate,
            set aside or correct the sentence.

      This language describes the relief the defendant seeks on the

September 22, 2015 pleading. He is a prisoner in custody under a sentence of

a court established by Act of Congress. He is claiming that he (and his co-

defendants) have the right to be released because their sentences resulted from

fraud committed by the agents and prosecutors who procured the wiretap

authorizations that produced the evidence used to convict them. Section 2255

is the vehicle through which persons with claims like the defendants may

challenge their sentences.




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      The defendant is adamant, however, that the clerk’s office must not treat

his pleading as a §2255 petition, and instead must docket it as a petition for a

writ of audita querela. This is probably because the defendant already has filed

a §2255 petition, see Nicksion v. United States of America, 12-cv-240-CNC

(filed March 13, 2012, and dismissed on January 28, 2015), or because he is

concerned that a §2255 petition would be barred by the limitations period in 28

U.S.C. §2255(f). The Seventh Circuit has held, though, that a prisoner cannot

get around habeas corpus impediments by giving their pleadings different titles.

            Prisoners cannot avoid the AEDPA's rules by inventive
            captioning. See, e.g., Owens v. Boyd, 235 F.3d 356
            (7th Cir.2000) (application for coram nobis); United
            States v. Evans, 224 F.3d 670 (7th Cir.2000) (use of
            Rule 33 based on matters other than newly discovered
            evidence of innocence). Any motion filed in the district
            court that imposed the sentence, and substantively
            within the scope of § 2255 ¶ 1, is a motion under §
            2255, no matter what title the prisoner plasters on the
            cover. See, e.g., Ramunno v. United States, 264 F.3d
            723 (7th Cir.2001). Call it a motion for a new trial,
            arrest of judgment, mandamus, prohibition, coram
            nobis, coram vobis, audita querela, certiorari, capias,
            habeas corpus, ejectment, quare impedit, bill of
            review, writ of error, or an application for a Get-Out-of-
            Jail Card; the name makes no difference. It is
            substance that controls. See Thurman v. Gramley, 97
            F.3d 185, 186-87 (7th Cir.1996).

Melton v. U.S., 359 F.3d 855, 857 (7th Cir. 2004).

      Because the facts alleged, and relief requested, in the defendant’s

September 22, 2015 pleading assert a collateral attack on his federal sentence,

the court ORDERS that the clerk’s office shall docket that pleading—regardless




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of its caption, and over the defendant’s adamant objection—as a petition for

relief under 28 U.S.C. §2255.

      Dated in Milwaukee this 22nd day of September, 2015.




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